                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                                WESTERN DIVISION

    UNITED STATES OF AMERICA,
                 Plaintiff,                               No. CR14-4088-MWB
    vs.                                          REPORT AND RECOMMENDATION
                                                    ON MOTION TO DISMISS
    INGMAR HERNANDEZ,
                 Defendant.
                                 ____________________

          Defendant Ingmar Hernandez (Hernandez) has filed a motion (Doc. No. 51) to
dismiss Count 1 of the indictment as against him. Plaintiff (the Government) has filed
a resistance (Doc. No. 87). The Honorable Mark W. Bennett, United States District
Judge, has referred the motion to me for preparation of a report and recommended
disposition. Because the motion has been well-briefed by both sides, I find that oral
argument is not necessary and would cause undue delay. See N.D. Ia. L.R. 7(c). The
motion is fully submitted and ready for decision.1


                 I.     FACTUAL AND PROCEDURAL BACKGROUND
          On November 20, 2014, the Grand Jury returned a seventeen-count indictment
(Doc. No. 9) naming eight defendants. Hernandez is charged only with regard to Count
1, which alleges conspiracy to defraud the United States by obstructing or interfering
with governmental functions in violation of 18 U.S.C. § 371 (Section 371).                 The


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  This motion is very similar to a motion (Doc. No. 29) previously filed by co-defendant Anna
Baker. On December 29, 2014, I filed a Report and Recommendation (Doc. No. 52) in which
I concluded that Baker’s motion should be denied. The indictment’s factual allegations against
Hernandez differ in some respects from those against Baker.


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indictment describes a series of events that allegedly took place after Jamal Dean (Dean)
shot a Sioux City police officer on April 29, 2013. Basically, the indictment tells the
story of Dean’s flight and efforts to evade capture after the shooting. Each defendant is
alleged to have known that Dean was a fugitive and, despite such alleged knowledge, to
have played a part in assisting his escape while obstructing efforts to capture him.
According to the indictment, an Iowa arrest warrant was issued for Dean shortly after the
shooting and a variety of local, state and federal law enforcement authorities commenced
a manhunt. Doc. No. 9 at 3. The federal authorities are alleged to have included
Deputy United States Marshals and Special Agents of the Bureau of Alcohol, Tobacco,
Firearms and Explosives.         Id. The indictment states that Dean was apprehended in
Texas on May 5, 2013, while accompanied by two of the other defendants. Id. at 4.
          The indictment contains the following allegations that arguably relate to
Hernandez:
          10. On April, 29, 2013, LEVON VARNE DEAN SR., (A/K/A LEE
          DEAN), STEFFAN DEAN, KIMBERLY SMITH, MONICA ROCHA-
          CONTRERAS,          EVETTE        MORRIS-HERNANDEZ,            ESTEBAN
          HERNANDEZ, ANNA BAKER, and INGMAR HERNADEZ [sic],2 all
          learned federal authorities were searching for Jamal Dean before they
          completed their interaction with Jamal Dean on or about April 29, 2013.

                                                ***

          THE OBJECTS OF THE CONSPIRACY

          13. From on or about April 29, 2013, and continuing until about September
          1, 2013, within the Northern District of Iowa and elsewhere, Jamal Dean
          and defendants, LEVON DEAN SR., (A/K/A LEE DEAN), STEFFAN
          DEAN, KIMBERLY SMITH, MONICA ROCHA-CONTRERAS,
          EVETTE MORRIS-HERNANDEZ, ESTEBAN HERNANDEZ, ANNA
          BAKER, and INGMAR HERNADEZ, and others known and unknown to
          the grand jury, knowingly and willfully conspired and agreed together and

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    Hernandez’s last name is spelled incorrectly throughout the indictment.
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  with each other, (and with other persons both known and unknown to the
  grand jury), to defraud the United States of and concerning its governmental
  functions and rights, hereafter described, that is: they conspired to interfere
  with and obstruct legitimate governmental activities of the United States
  Department of Justice (e.g., the United States Marshals Service (“USMS”)
  and the Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”))
  by interfering with and obstructing the federal investigation into the events
  of April 29, 2013, and the federal effort to assist in the apprehension of
  Jamal Dean, by deceit, craft, trickery, and by means that were dishonest.

  THE MANNER AND MEANS OF THE CONSPIRACY

  14. It was a part of the conspiracy that the defendants would by deceit,
  craft, trickery and dishonest means, defraud the United States by interfering
  with and obstructing the lawful governmental functions of the United States
  Department of Justice (e.g., the USMS and ATF) in that the defendants
  would receive, relieve, comfort, assist, and conceal Jamal Dean in his
  attempt to avoid capture and questioning.

  15. It was further a part of the conspiracy that the defendants would make
  materially false, fictitious, and fraudulent statements or representations to
  the United States Department of Justice (e.g., the United States Marshals
  Service and the Bureau of Alcohol, Tobacco, Firearms, and Explosives).

  16. It was still further a part of the conspiracy that the defendants would
  alter, destroy, mutilate, conceal, cover up, falsify, or make false entry in
  any record, document, or tangible object.

  OVERT ACTS

  17. In furtherance of the conspiracy and to affect the objects of the
  conspiracy, the following overt acts, among others, were committed in the
  Northern District of Iowa and elsewhere:

  Before Arrest of Jamal Dean

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  H. On or about April 29, 2013, Jamal Dean used KIMBERLY SMITH’S
  and STEFFAN DEAN’S home phone to Call [sic] INGMAR
  HERNANDEZ and arranged for his (i.e., Jamal Dean’s) transportation
  from KIMBERLY SMITH’S and STEFFAN DEAN’S home in Sioux City,
  Iowa to South Sioux City, Nebraska.

  I. On or about April 29, 2013, MONICA ROCHA-CONTRERAS and
  INGMAR HERNADEZ picked-up Jamal Dean from KIMBERLY SMITH
  and STEFFAN DEAN’S home in a black 2003 Cadillac sedan.

  J. On or about April 29, 2013, MONICA-ROCHA CONTRERAS and
  INGMAR HERNADEZ transported Jamal Dean from KIMBERLY
  SMITH’S and STEFFAN DEAN’S home to South Sioux City, Nebraska.

  K. On or about April 29, 2013, MONICA ROCHA-CONTRERAS and
  INGMAR HERNADEZ transported Jamal Dean to a location near West 7th
  Street in South Sioux City, Nebraska.

  L. On or about April 29, 2013, an unnamed conspirator known to the grand
  jury and Jamal Dean walked from a location near West 7th Street, South
  Sioux City, Nebraska to the home of an unnamed conspirator know to the
  grand jury near 5th Avenue in South Sioux City, Nebraska.

  M. On or about April 30, 2013, one or more conspirators arranged for the
  transportation of Jamal Dean from the residence near 5th Avenue South
  Sioux City, Nebraska to ANNA BAKER’S home on the Winnebago
  Reservation in Winnebago, Nebraska.

  N. On or about April 30, 2013, EVETTE MORRIS-HERNANDEZ and
  ESTEBAN HERNANDEZ picked-up Jamal Dean and INGMAR
  HERNADEZ at the residence near 5th Avenue South Sioux City, Nebraska
  in a 1999 Dodge Durango sports utility vehicle.

  O. On or about April 30, 2013, EVETTE MORRIS-HERNANDEZ and
  ESTEBAN HERNANDEZ transported Jamal Dean from the residence near
  5th Avenue, South Sioux City, Nebraska to ANNA BAKER’S home on the
  Winnebago Reservation, in Winnebago, Nebraska.



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       P. On or about April 30, 2013, ANNA BAKER welcomed EVETTE
       MORRIS-HERNANDEZ,          ESTEBAN  HERNANDEZ,     INGMAR
       HERNADEZ, and Jamal Dean into her home on the Winnebago
       Reservation in Winnebago, Nebraska.

       Q. On or about April 30, 2013, ANNA BAKER, EVETTE MORRIS-
       HERNANDEZ, ESTEBAN HERNANDEZ, INGMAR HERNADEZ, and
       Jamal Dean discussed the shooting and what JAMAL DEAN’S next step
       should be.

Id. at 4-9. Thus, the indictment alleges that Hernandez joined a conspiracy to obstruct
the efforts of federal authorities to apprehend Dean and that he took the following actions
in furtherance of the alleged conspiracy: (a) he was involved in transporting Dean to
various locations while knowing he was a fugitive and (b) he took part in discussions with
Dean and others about what Dean should do next.


                           II.    HERNANDEZ’S MOTION
       Hernandez’s motion invokes Federal Rules of Criminal Procedure 12(b)(2) and
12(b)(3)(B) which state, in relevant part:
       (b) Pretrial Motions.
                                             ***
              (2) Motions That May Be Made at Any Time. A motion
              that the court lacks jurisdiction may be made at any time while
              the case is pending.

              (3) Motions That Must Be Made Before Trial. The
              following defenses, objections, and requests must be raised
              by pretrial motion if the basis for the motion is then
              reasonably available and the motion can be determined
              without a trial on the merits:

                                      ***
                     (B) a defect in the indictment or information,
                     including:
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                             (v) failure to state an offense;

Fed. R. Crim. P. 12(b). While the motion makes reference to Rule 12(b)(2), see Doc.
No. 51 at 1, Hernandez makes no argument that this court lacks jurisdiction. Instead,
his arguments focus entirely on the question of whether the indictment’s allegations state
an offense against him. Doc. No. 51-1. In addressing Baker’s motion, I noted that
her jurisdictional argument under Rule 12(b)(2) merged with her Rule 12(b)(3)(B)
arguments. Doc. No. 52 at 6. In other words, if the indictment states an offense, then
this court has jurisdiction. The same situation exists here.
       As for Rule 12(b)(3)(B), Hernandez argues that even if the allegations in the
indictment are accepted as true, no violation of Section 371 occurred because his alleged
actions did not target the United States, nor did they defraud the United States. He notes
that certain allegations made against Baker are not made against him and argues that these
distinctions are material.   The Government disagrees.          It argues that the allegations
against Hernandez, while somewhat different from those against Baker, nonetheless set
forth a viable claim that Hernandez violated Section 371.


                                   III.     DISCUSSION
A.     Does Count 1 State An Offense Against Hernandez?
       1.    Applicable Standards
       An indictment is normally sufficient unless no reasonable construction can be said
to charge the offense. United States v. Nabors, 45 F.3d 238, 240 (8th Cir. 1995). This
means an indictment will survive a motion to dismiss “if it contains all of the essential
elements of the offense charged, fairly informs the defendant of the charges against which
he must defend, and alleges sufficient information to allow a defendant to plead a
conviction or acquittal as a bar to a subsequent prosecution.”       United States v. Carter,

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270 F.3d 731, 736 (8th Cir. 2001). In reviewing the sufficiency of an indictment, the
court must accept the Government's allegations as true.      United States v. Steffen, 687
F.3d 1104, 1107 n.2 (8th Cir. 2012).3 The issue, then, is whether the indictment’s
allegations against Hernandez, when accepted as true, state a violation of Section 371.


       2.     Overview of Section 371
       Section 371 reads as follows, in relevant part:
       Conspiracy to commit offense or to defraud United States

       If two or more persons conspire either to commit any offense against the
       United States, or to defraud the United States, or any agency thereof in any
       manner or for any purpose, and one or more of such persons do any act to
       effect the object of the conspiracy, each shall be fined under this title or
       imprisoned not more than five years, or both.

18 U.S.C. § 371. The Government notes that Hernandez is charged under the second
clause of Section 371, which makes it unlawful for “two or more persons [to] conspire .
. . to defraud the United States, or any agency thereof in any manner or for any purpose”
if at least one of those persons commits “any act to effect the object of the conspiracy.”
The Supreme Court has explained Section 371 as follows:
       Section 371 is the descendent of and bears a strong resemblance to
       conspiracy laws that have been in the federal statute books since 1867. See
       Act of Mar. 2, 1867, ch. 169, § 30, 14 Stat. 484 (prohibiting conspiracy to
       “defraud the United States in any manner whatever”). Neither the original
       1867 provision nor its subsequent reincarnations were accompanied by any
       particularly illuminating legislative history. This case has been preceded,
       however, by decisions of this Court interpreting the scope of the phrase “to
       defraud ... in any manner or for any purpose.” In those cases we have
       stated repeatedly that the fraud covered by the statute “reaches ‘any

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 As I noted in addressing Baker’s motion, a Rule 12 motion may attack the sufficiency of the
allegations but not the sufficiency of the evidence. Doc. No. 52 at 7-8. Hernandez does not
suggest otherwise.
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       conspiracy for the purpose of impairing, obstructing or defeating the lawful
       function of any department of Government.’” Dennis v. United States,
       384 U.S. 855, 861, 86 S.Ct. 1840, 1844, 16 L.Ed.2d 973 (1966), quoting
       Haas v. Henkel, 216 U.S. 462, 479, 30 S.Ct. 249, 253, 54 L.Ed. 569
       (1910); see also Glasser v. United States, 315 U.S. 60, 66, 62 S.Ct. 457,
       463, 86 L.Ed. 680 (1942); Hammerschmidt v. United States, 265 U.S. 182,
       188, 44 S.Ct. 511, 512, 68 L.Ed. 968 (1924). We do not reconsider that
       aspect of the scope of § 371 in this case. Therefore, if petitioners' actions
       constituted a conspiracy to impair the functioning of the [Rural
       Electrification Administration], no other form of injury to the Federal
       Government need be established for the conspiracy to fall under § 371.

Tanner v. United States, 483 U.S. 107, 128 (1987) [emphasis added]. Similarly, the
Eighth Circuit Court of Appeals has stated that in order to establish a violation of the
second clause of Section 371, “the government must show that [the defendant] conspired
‘to interfere with or obstruct one of [the United States'] lawful governmental functions
by deceit, craft or trickery, or at least by means that are dishonest.’”   United States v.
Murphy, 957 F.2d 550, 553 (8th Cir. 1992) (quoting McNally v. United States, 483 U.S.
350, 359 n. 8 (1987)). The agreement between the alleged conspirators “need not be
express, but rather can be an informal tacit understanding” that “can be proved entirely
by circumstantial evidence.” Id. at 552.
       As Hernandez points out, Section 371 applies only when the United States is the
target of the conspiracy. Tanner, 483 U.S. at 130 (“The conspiracies criminalized by §
371 are defined not only by the nature of the injury intended by the conspiracy, and the
method used to effectuate the conspiracy, but also—and most importantly—by the target
of the conspiracy.”) [emphasis in original]. In Tanner, the defendants were convicted
under Section 371 after conspiring to defraud a private entity – Seminole Electric
Cooperative, Inc. (Seminole) – that received financial assistance from the federal
government. Id. at 128-29. Specifically, defendant Conover, who was employed by
Seminole, caused the company to enter into road-construction contracts with a friend –

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defendant Tanner – that were favorable to Tanner.          Id. at 111.    Conover received
certain benefits from Tanner after arranging these favorable contracts.       Id. at 111-12.
As it turns out, Seminole had funded the construction project with a loan guaranteed by
the Rural Electrification Administration (REA), a federal agency. Id. at 111.
       Both defendants appealed their convictions on grounds that a conspiracy to defraud
a private entity does not implicate Section 371, even if that entity happens to receive
assistance from a federal agency.        Id. at 129.     The Court agreed, rejecting the
Government’s argument that a private entity that is a “recipient of federal financial
assistance and the subject of federal supervision, may itself be treated as ‘the United
States’ for purposes of § 371.”       Id.   The Court concluded that the Government’s
position improperly “substituted ‘anyone receiving federal financial assistance and
supervision’ for the phrase ‘the United States or any agency thereof’ in § 371.”        Id. at
132. Thus, the convictions were vacated with regard to this theory.4


       3.     Analysis
       Hernandez raises two arguments as to why the indictment’s allegations against him
do not fit the elements of an offense under Section 371: (1) the United States was not the
target of the alleged conspiracy and (2) his alleged conduct did not “defraud” the United
States. I will address these argument separately.


              a.     Was the United States the Target of the Alleged Conspiracy?
       The indictment alleges that shortly after an armed robbery occurred on April 15,
2013, Dean was investigated by state and federal authorities for various offenses,


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  The Court remanded the case for further consideration of a second theory, which was that the
defendants conspired to cause Seminole to make false statements to the REA. Id. Under that
theory, the United States was the target of the conspiracy. Id.

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including possession of a firearm and ammunition as a felon. Doc. No. 9 at 3, ¶¶ 4-5.
The indictment further alleges that this joint state and federal investigation was still
underway on April 24, 2013, when Dean committed a second armed robbery.             Id., ¶¶
5-6. Next, the indictment alleges that a state court arrest warrant for Dean was issued
on April 24, 2013, and that local and federal law enforcement officers began searching
for him at that time.     Id., ¶ 6.
         According to the indictment, a second state court arrest warrant for Dean was
issued on April 29, 2013, after Dean shot a police officer. Id. at 3-4, ¶¶ 7-8. At that
time, Deputy United States Marshals are alleged to have joined the existing search for
Dean, meaning officials from multiple federal agencies (in addition to state and local
agencies) were attempting to locate Dean after the shooting.      Id. at 4, ¶ 9. Moreover,
and critically, the indictment alleges that on this same date – April 29, 2013 – all of the
defendants, including Hernandez, “learned federal authorities were searching for Jamal
Dean.” Id., ¶ 10.
         Thus, according to the indictment, when Hernandez allegedly took part in
transporting Dean to various locations on April 29 and 30, 2013, and participated in
discussions about the shooting and about what Dean should do next,5 he knew Dean was
wanted by federal authorities.        Moreover, other alleged conspirators, possessing the
same knowledge about federal involvement, are alleged to have taken other steps to
frustrate the manhunt and investigation.         Id. at 6-14, ¶ 17.   Hernandez, however,
correctly points out that Baker – unlike him – is also alleged to have (a) destroyed
evidence and (b) lied to a federal agent.      Id. at 10, 13, ¶¶ 17(CC), 17(DD) and 17(OO).
The question is whether the lack of such allegations requires dismissal of the Section 371
charge against Hernandez. I find that it does not.


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    See Doc. No. 9 at 8-9, ¶¶ 17(H) – 17(Q).

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         Accepting all allegations as true, the indictment sufficiently describes a conspiracy
that targeted the United States and of which Hernandez was a co-conspirator.             This
situation is not akin to the rejected theory in Tanner, under which a conspiracy to defraud
a private entity was alleged to fall within Section 371 because that entity received some
assistance from the federal government.            That theory would be analogous if the
investigation and manhunt concerning Dean had been a state or local operation, with only
some behind-the-scenes assistance from federal resources (such as the use of federal
funds, databases, etc.).
         Here, however, the indictment expressly alleges that Hernandez and the other
defendants knew federal authorities were looking for Dean and that they took actions to
frustrate this federal effort. The indictment thus describes an alleged conspiracy akin to
the Section 371 theory that was approved in Tanner (in which the defendants caused
Seminole to make false statements to a federal agency),6 and it alleges that Hernandez
took actions in furtherance of the conspiracy. I find that the indictment’s allegations are
sufficient to state a claim that Hernandez was part of an alleged conspiracy that targeted
the United States within the meaning of Section 371. As such, I must recommend that
Hernandez’s motion be denied on this issue.


                b.     Did Hernandez’s Alleged Actions “Defraud” the United States?
         Hernandez next argues that his alleged conduct does not support a Section 371
charge because simply riding with and talking with a state fugitive does not amount to
“defrauding” the United States. He states: “Defendant is not accused of lying to the
agents or of destroying evidence. Simply put, ‘being there’ is not ‘defrauding.’” Doc.
No. 51-1 at 6. In resisting this argument, the Government relies on the Supreme Court’s


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    Tanner, 483 U.S. at 132.

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broad interpretation of the concept of “defrauding” for purposes of Section 371. Doc.
No. 87-1 at 9-12. It notes, for example, that “defrauding” the United States simply
means “impairing, obstructing, or defeating the lawful function of any department of
government.” Id. at 9 (citing Dennis v. United States, 384 U.S. 855, 861 (1966)).
       The Government is correct that fraud under Section 371 goes beyond common law
fraud. Dennis, 384 U.S. at 861. It includes any effort to interfere with or obstruct one
of the federal government’s lawful functions “by deceit, craft or trickery, or at least by
means that are dishonest.” Murphy, 957 F.2d at 553. Thus, “[c]onspiracies to defraud
the United States under section 371 can take many forms.” Id. at 554. In Murphy, for
example, the defendant was alleged to have obtained sensitive information about an
ongoing investigation and to have shared that information with a target of the investigation
to help the target avoid detection.    Id. The court found that under those facts, “[a]
reasonable juror could properly conclude that Murphy intended to dishonestly obstruct a
lawful government function.” Id.
       I agree with Hernandez that the allegations against him are less compelling than
those against Baker. After all, in addition to allegedly harboring Dean in her home,
Baker is alleged to have destroyed evidence and to have made a false statement to a
federal agent.    Nonetheless, and particularly in light of Murphy, I find that the
indictment’s allegations against Hernandez state a case that he conspired to defraud the
United States. If those allegations are true, reasonable jurors could find that Hernandez,
while knowing that federal agents were looking for Dean, interfered with that search by
deceit, craft or trickery in the form of (a) participating in the movement of Dean to
different locations to prevent his capture and (b) helping Dean plan further evasive
actions.   Thus, when read as a whole and reasonably construed, the indictment’s
allegations are sufficient to charge Hernandez with conspiracy to defraud the United
States. I therefore recommend that his motion be denied on this ground, as well.

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                  IV.      CONCLUSION AND RECOMMENDATION
       For the reasons set forth herein, I RESPECTFULLY RECOMMEND that the
motion (Doc. No. 51) by defendant Ingmar Hernandez to dismiss Count 1 of the
indictment as to him be denied.
       Objections to this Report and Recommendation in accordance with 28 U.S.C.
' 636(b)(1) and Fed. R. Crim. P. 59(b) must be filed within fourteen (14) days of the
service of a copy of this Report and Recommendation. Objections must specify the parts
of the Report and Recommendation to which objections are made, as well as the parts of
the record forming the basis for the objections.      See Fed. R. Crim. P. 59. Failure to
object to the Report and Recommendation waives the right to de novo review by the
district court of any portion of the Report and Recommendation as well as the right to
appeal from the findings of fact contained therein.    United States v. Wise, 588 F.3d 531,
537 n.5 (8th Cir. 2009).


       IT IS SO ORDERED.
       DATED this 21st day of January, 2015.




                                          ________________________________
                                          LEONARD T. STRAND
                                          UNITED STATES MAGISTRATE JUDGE




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